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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MARK ANTHONY ORTEGA                             §
    Plaintiff,                                  §
                                                §
v.                                              §
                                                §                  Case No. 24-CV-0440-OLG-HJB
DANIEL GILBERT FIELDS                           §
and ERIC DOE,                                   §
      Defendants.                               §

                              PROPOSED SCHEDULING ORDER

        The disposition of this case will be controlled by the following schedule:


       1.     The parties must make initial disclosures as required by Federal Rule of Civil
Procedure 26(a)(1). To the extent a defendant knows the identity of a responsible third party
contemplated by Texas Civil Practices & Remedies Code § 33.004, such identity is subject to
disclosure under Rule 26(a)(1)(A)(i).

       2.      On or before May 30, 2025, the parties must submit a Joint Report indicating their
agreement regarding a method of ADR, an ADR provider, the method of compensating the
provider, and a date for completing the ADR proceeding no later than the date set out in Paragraph
8 below. See Local Rule CV88(a).

       3.      The parties asserting claims for relief shall submit a written offer of settlement to
opposing parties on or before March 31, 2025, and each opposing party shall respond, in writing,
by April 21, 2025.

       4.       On or before April 30, 2025, the parties must file any motion seeking leave to
amend or join parties. To the extent it may apply in this case, the deadline for Defendant(s) to file
a motion to designate responsible third parties, pursuant to Texas Civil Practices & Remedies Code
§ 33.004(a), is April 30, 2025.

       5.      All parties asserting claims for relief shall file their designation of testifying experts
and shall serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26 by July 31,
2025.



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        6.      All Parties resisting claims for relief shall file their designation of testifying experts
and shall serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26 by August
28, 2025. All designations of rebuttal experts shall be designated within 14 days of receipt of the
report of the opposing expert.

       7.     The parties shall complete all discovery on or before October 31, 2025. Counsel
may by agreement continue discovery beyond the deadline, but there will be no intervention by
the Court except in extraordinary circumstances.

     8.     The parties must complete mediation or other ADR in this case on or before
November 30, 2025.

        9.      An objection to the reliability of an expert’s proposed testimony under Federal Rule
of Evidence 702 shall be made by motion, specifically stating the basis for the objection and
identifying the objectionable testimony by November 30, 2025.

       10.    On or before December 12, 2025, parties must file any dispositive motions,
including motions for summary judgment on all or some of the claims.



                                                Respectfully submitted,



                                                By: /s/ Carolyn Carollo
                                                     CAROLYN CAROLLO

                                             ATTORNEY FOR                 DEFENDANT            DANIEL
                                             GILBERT FIELDS

AGREED TO BY MARK ORTEGA




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                                CERTIFICATE OF SERVICE

        Pursuant to Rule 5 of the Federal Rules of Civil Procedure, the undersigned counsel for the
Defendant Daniel Gilbert Fields certify that the foregoing document has been filed with the Court
electronic case filing system and served upon all known parties by e-service, first class mail,
facsimile and/or certified mail, return receipt requested on January 7, 2025.

       Mark Anthony Ortega, Pro Se
       P.O. Box 702099
       San Antonio, Texas 78270



                                                     /s/ Carolyn Carollo
                                                     Carolyn Carollo




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